          Case 20-01251          Doc 52       Filed 09/01/22 Entered 09/01/22 08:17:23                    Desc Main
                                                Document Page 1 of 2
                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       NORTHERN DISTRICT OF ILLINOIS
                                              EASTERN DIVISION

In re: Daniel Valdez                                            )         Case no. 20-01251
                                                                )
                                                                          Chapter 13
                                                                )
                                               Debtor           )         Judge: Lashonda A. Hunt
                                                                )

                               NOTICE OF MOTION AND CERTIFICATE OF SERVICE

      Daniel Valdez                                                           Christina Banyon
      302 Wentworth Dr #2                                                     60 N Chicago St
      Sandwich, IL 60548                                                      Joliet,IL 60432



      Please take notice that on Friday, October 7, 2022 at 10:00 am, a representative of this office shall appear
      before the Honorable Judge Lashonda A. Hunt, or any judge sitting in that judge 's place, and present the
      Trustee's motion a copy of which is attached.

      This motion will be presented and heard electronically using Zoom for Government . No personal
      appearance in court is necessary or permitted. To appear and be heard on the motion, you must do the
      following:

      To appear by video, use this link: https//www.zoomgov.com/join. Then enter the meeting ID and password.

      To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-7666. Then enter the
      meeting ID and password.

      Meeting ID and password. The meeting ID for this hearing is 161 165 5696 and the passcode is 7490911.
      The meeting ID and passcode can also be found on the judge 's page on the court's web site.

      If you object to this motion and want it called on the presentment date above, you must file a Notice of
      Objection no later than two (2) business days before that date. If a Notice of Objection is timely filed, the
      motion will be called on the presentment date. If no Notice of Objection is timely filed, the court may grant the
      motion without a hearing.

      I certify that this office caused a copy of this notice to be delivered to the above listed debtor by depositing it in
      the U.S. Mail at 801 Warrenville Road, Lisle, IL and to the debtor 's attorney electronically via the Court's
      CM/ECF system on Thursday, September 1, 2022




                                                                        /s/ Carrie ODonnell
        Glenn Stearns, Chapter 13 Trustee
                                                                        For: Glenn Stearns, Trustee
        801 Warrenville Road, Suite 650
        Lisle, IL 60532-4350
        Ph: (630) 981-3888
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                                                                    Chapter 13
                                                            )
                                            Debtor          )       Judge: Lashonda A. Hunt
                                                            )



                        MOTION TO DISMISS FOR FAILURE TO MAKE PLAN PAYMENTS



    Now comes Glenn Stearns, Chapter 13 Trustee, and requests dismissal of the above case pursuant to Section
    1307(c)(6), and in support thereof, states the following:

    1. The debtor filed a petition under the Bankruptcy Code on January 16, 2020.
    2. The debtor's plan was confirmed on April 03, 2020.

        A Summary of the debtor's plan follows:

        Monthly Payment:          $797.00                       Last Payment Received:        August 01, 2022

        Amount Paid:           $20,500.00                       Amount Delinquent:                 $2,237.00


    WHEREFORE, the Trustee prays that this case be dismissed for material default by the debtor with respect to the
    term of a confirmed plan, pursuant to Section 1307 (c)(6).




                                                                    Respectfully Submitted;

      Glenn Stearns, Chapter 13 Trustee                             /s/ Gerald Mylander
      801 Warrenville Road, Suite 650                               For: Glenn Stearns, Trustee
      Lisle, IL 60532-4350
      Ph: (630) 981-3888
